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             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


DONNA CURLING, et al.                         )
                                              )
      Plaintiffs,                             )
                                              )
      v.                                      )      CIVIL ACTION
                                              )      NO. 1:17cv2989
BRIAN P. KEMP, et al.                         )
                                              )
      Defendants.                             )



  [PROPOSED] ORDER GRANTING PLAINTIFFS’ EXPEDITED
 MOTION FOR LIMITED EARLY AND EXPEDITED DISCOVERY

      The Court, having considered the procedural history, argument of

counsel, and all relevant legal authority with respect to Plaintiffs’ Expedited

Motion for Limited Early and Expedited Discovery (“Motion”), it is hereby



ORDERED that Plaintiffs’ Motion is GRANTED; and



ORDERED that Defendants Brian P. Kemp, the State Election Board, Merle

King, the Fulton County Board of Registration and Elections, the Cobb

County Board of Registration and Elections, and the DeKalb County Board

of Registration and Elections produce the documents and electronically



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stored information set forth in the applicable discovery requests attached to

Plaintiffs’ Motion as Exhibits A – F no later than August 23, 2017;



ORDERED that Defendant Merle King shall appear for a full-day deposition

pursuant to Federal Rule of Civil Procedure 28 at a time to be agreed upon

by the parties but in no event later than August 23, 2017; the deposition of

Defendant King will be limited to the subject matter of Plaintiffs’ Election

Contest Claims and preliminary injunction motion, as filed, and will not

limit Plaintiffs’ ability to take a full deposition of Mr. King, if needed, in the

ordinary course of discovery in this matter; and



ORDERED that Defendant Richard Barron shall appear for a full-day

deposition pursuant to Federal Rule of Civil Procedure 28 at a time to be

agreed upon by the parties but in no event later than August 23, 2017; the

deposition of Defendant Barron will be limited to the subject matter of

Plaintiffs’ Election Contest Claims and preliminary injunction motion, as

filed, and will not limit Plaintiffs’ ability to take a full deposition of Mr.

Barron, if needed, in the ordinary course of discovery in this matter.




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             ORDERED this ___ day of August 2017.



                               ______________________
                               Judge Amy Totenberg


Proposed Order Submitted by:

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    CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has

been prepared in accordance with the font type and margin requirements of

Local Rule 5.1 of the Northern District of Georgia, using a font type of

Times New Roman and a point size of 14.

                                    /s/ Bryan Ward
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